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                                                        May 19, 2023

  Hon. Nicholas G. Garaufis
  U.S. District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                  Re: United States v. City of New York. No. 07-CV-2067(NGG)

  Dear Judge Garaufis,

          On April 19, 2023, this Court issued an order in response to Plaintiff-Intervenor The
  Vulcan Society’s (the “Vulcan Society” or “PIs”) April 10, 2023 Objection to the Monitor’s
  CPAT Recommendation to the Court (Dkt. # 2170, “PIs’ Objection”), directing the Monitor to
  consider the arguments raised therein and “issue an updated recommendation as needed.” On
  April 24, 2023, the City sent a letter to the Monitor addressing the issues raised in PIs’ Objection
  (“City Response”). Plaintiff the United States has advised that it does not object to the
  commencement of Round 4, subject to the agreements memorialized in the Monitor’s
  correspondence of March 22 and 31, 2023 (Dkt. #s 2160 and 2166) (the “Monitor’s Letters”).
  (The City’s current schedule provides for CPAT testing – including practice tests – to begin on
  July 1 and run through September 6, 2023. CPAT training began on April 17.)

          Having considered PIs’ Objection and the City Response, the Monitor respectfully again
  recommends pursuant to Paragraph 54(c) of this Court’s Modified Remedial Order (Dkt. #
  1143), that the City be permitted to call candidates from both score bands 98 and 97 for a fourth
  round of the Candidate Physical Ability Test (“Round 4”), subject to the agreements and
  commitments by the City to provide candidate support described in the Monitor’s Letters, which
  build on prior Orders and agreements and include, among other things:

              •   Completing certain analyses
              •   Maintaining and building on the level of candidate communication that took
                  place in the previous round of the CPAT (“Round 3”), with monthly
                  communication plans
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                 •    Reporting to the Monitor and Parties on a bi-weekly basis about training, practice,
                      and testing attendance and outcomes as well as candidate engagement, and monthly
                      reporting on recruitment staffing and activities and the mentorship program

            I.       Background

         The MRO requires the City, among other things, to draft and implement a plan to
 “mitigate and diminish rates of voluntary candidate attrition between different steps of the City’s
 process for the selection of entry-level firefighters,” as well as to take all steps necessary to
 eliminate “policies and procedures that are not job related or required by business necessity and
 either have a disparate impact on black and Hispanic firefighter candidates or perpetuate the
 effects of said disparate impact.” MRO ¶¶ 11, 31, 75. The Candidate Physical Ability Test
 (“CPAT”) is a physical examination and one of the hiring steps in the entry level firefighter
 hiring process under the MRO. MRO ¶ 11. The CPAT, which is the first step after the written
 examination, historically is the hiring step at which the greatest numbers of Black and Hispanic
 firefighters are lost from the hiring pipeline.

          Candidates are lost from the hiring process both by failing the CPAT, and by failing to
 appear for CPAT testing. 1 Training for the CPAT, however, greatly increases candidates’
 chances of passing the CPAT. In fact, data collected before Round 3 of the CPAT showed that
 candidates who attend three training sessions or more pass at rates in excess of 90 percent. For
 this reason, access to training opportunities, and information about the CPAT and how to prepare
 for it, are extremely important. After the CPAT, too, candidates must maintain fitness for
 subsequent stages of the hiring process such as the medical examination (which includes a
 stairmill component) and pre-Academy run, and must manage their weight within the levels
 needed to pass the medical. Attrition mitigation measures such as information and training are of
 particular value for Black and Hispanic candidates, who remain less likely to have friends and
 family in the FDNY to familiarize them with the requirements of the CPAT test and other hiring
 steps, and encourage them to travel, for example, to training sessions on Randall’s Island.

         The first two rounds of the CPAT for candidates on the Exam 7001 hiring list (“Rounds 1
 and 2”) had disparate impact adverse to Black and Hispanic candidates. On June 9, 2021, this
 Court issued an order directing the City, among other things, to critically evaluate its attrition
 mitigation efforts before administering the CPAT to further candidates. (Dkt. #2033, the “June
 9th Order”). In lieu of holding focus groups with candidates to discuss their CPAT experiences,
 which was one element of the relief in the June 9th Order (id. at 12), the City (with the Court’s
 consent) opted to conduct a survey of candidates who had passed the CPAT. This survey yielded
 useful information about candidates’ experiences, preferences, resources, and preparation for the
 CPAT, including the views of diverse candidates.

       In June 2022, before CPAT Round 3 began, this Court set a schedule for the City to
 complete its analysis of the survey of candidates who had passed the CPAT, and directed the

 1
     The City offers candidates three opportunities to pass the CPAT – two “practice” sessions and a final test.


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 City to provide detailed information to the Monitor and Parties about CPAT training and testing
 attendance and outcomes going forward. (Dkt. #s 2112, 2114). In September 2022, the other
 Parties and the Monitor suggested a number of additional measures to reduce candidate attrition
 in Round 3, some of which the City adopted and some of which it did not. See, e.g., Dkt. #s
 2127-2030. The City voluntarily adopted other measures. In Round 3, consistent with historic
 trends showing that attrition increases over the life of the hiring list, candidates of all
 demographics passed at lower rates, and more than 50 percent of candidates in all demographics
 did not appear for the CPAT test. The results of Round 3 did not show disparate impact,
 however, and City data shows that Black candidates passed at slightly higher rates than their
 White counterparts. City Response at 3.

        II.     Round 4 Dispute

                A.     History

          Before beginning Round 4, the City advised the Monitor and the other Parties of its intent
 to call score bands 98 and 97 from the Exam 7001 list, which together include approximately
 4,600 candidates – the largest candidate group called for CPAT thus far, and more than twice the
 number of candidates who were called for Round 3. The City emphasized its operational need to
 fill Academy classes. PIs and the United States questioned some aspects of the City’s
 calculation of the need to call two bands to fill the number of seats in Academy classes through
 Spring 2024. PIs and the United States also pointed out that the City had not yet provided the
 results of certain analyses of Round 3 that had been requested by the Monitor in September
 2022.

          During the Monitor’s discussions with the Parties, the Parties disagreed about the likely
 effects, from an attrition perspective, of calling the 2000-plus candidates in band 97 (all of whom
 would have to be called at the same time, pursuant to a City policy). The City took the position
 that calling a large group of candidates for CPAT is advantageous from an attrition standpoint -
 even if many of the candidates in the group will not be called for further processing for some
 time after they pass the CPAT - because being called for the first step of the process connects
 candidates to FDNY resources and gives them a sense of engagement. The Vulcan Society
 expressed concerns about whether the City had adequate staffing and other capacity to give
 training and support to such a large group of candidates, including, for example, whether there
 would be sufficient spots at training sessions, selection of dates and times to train and take the
 test, personnel to answer candidate questions, and calls and texts to provide information. The
 Parties also discussed, as they had in connection with earlier CPAT rounds, whether Black and
 Hispanic candidates might fail at higher rates if they trained for the CPAT, but then waited for up
 to a year before moving on to the next steps of the hiring process, some of which also require
 fitness – as opposed to training to pass the CPAT, and then moving directly on to those
 subsequent steps. The United States inquired whether empirical data from Exam 2000, and/or
 from CPAT Rounds 1 and 2, could be used to try to determine whether candidates historically
 fared better when called earlier or later for CPAT (i.e., if they passed CPAT and then waited


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 before completing the remaining steps of the hiring process, or waited to take the CPAT in the
 first instance). The Monitor asked the City to provide additional information regarding plans to
 support candidates and staff events.

         On March 9, 2023, the Monitor wrote to the City and advised that although the Monitor
 did not object to the City proceeding to call band 98 (which contains approximately 2,000
 candidates), the Monitor would not approve calling band 97 until the City had completed
 additional analyses requested by the Monitor. The next day, on a telephone call among the
 Monitor and Parties, the Chief of Department and other senior City and FDNY personnel
 emphasized what they described as the FDNY’s urgent operational need for more hires, as well
 as the logistical unfeasibility for both the FDNY and the Citywide hiring processes of conducting
 two successive rounds of CPAT and subsequent candidate processing in the time frames that
 would be required if each score band were called separately.

         Following the call, on March 11, 2023, the Monitor sent the Parties a message saying that
 the Monitor’s view was that the City could proceed to call candidates from both score bands. In
 addition to the City’s operational need, the Monitor noted that the City had provided results of a
 survey of candidates in the 98 and 97 score bands, which indicated that candidates in the 97 band
 reported higher levels of motivation to remain in the FDNY hiring process than those in the 98
 score band. The Monitor also held further discussions with the City and the other Parties. As
 described briefly in the introduction to this Recommendation, the Monitor reported on these
 discussions, and on the City’s commitments, in the Monitor’s Letters and recommended that the
 City be permitted to proceed subject to its agreement to engage in candidate support
 commensurate with the support provided in Round 3, as well as to report regularly so that any
 areas of concern can be promptly flagged.

                B.     The Parties’ Arguments

          PIs’ Objection raises two main arguments why the City should not be permitted to call
 both score bands 98 and 97. First, PIs point out that the City’s own projections show that it can
 fill classes through Spring 2024 from band 98 alone, with a surplus of 67 candidates, without
 calling score band 97. They note that the City’s calculations of how many candidates it needs to
 call to fill seats in the Academy are based on predicted rates of attrition in the hiring process
 (“attrition ratios”) higher than any the City has used before. PIs’ Objection at 2-3.

         Second, PIs contend that calling the candidates in score band 97 at this time has a
 substantial downside, because it prevents candidates in score band 97 from benefiting from
 possible improvements in attrition mitigation based on insights from Round 3 outcomes. For
 example, PIs point out that data on the correlation between training sessions and test outcomes
 has not been updated to account for Round 3 outcomes, and that other data about CPAT passing




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 and failures that is newly available has not yet been examined. 2 PIs argue that as a result of
 these improvements, for the first time, the City can evaluate which components of the CPAT
 candidates fail, and when, and “tailor its training to ensure candidates are able to practice the
 portions that others struggled with the most.” PIs’ Objection at 3-4. Conversely, PIs suggest
 that the reasons why the Black-White performance gap closed part-way through Round deserve
 more study before candidates in score band 97 are called, so that the FDNY can know: “(1) who
 appeared for the CPAT practice tests in Round 3, (2) why they attended, and (3) what hallmarks
 of candidate engagement were associated with positive outcomes for Black candidates.” Id. at 4.
 PIs also argue that the mentorship program appeared to have little impact on the rate at which
 Black candidates appeared for CPAT in Round 3, and that the City could take time to study why
 and improve it, as well as build on its Round 3 communication strategy using the findings of
 Round 3. Overall, PIs urge that score band 97 should not be called until the benefits of Round 3
 analyses can be realized. PIs also express doubts about the City’s ability to scale up attendance
 at orientation and practice sessions by as much as over 100 percent of Round 3 attendance,
 which PIs assert could impair the FDNY’s ability to offer useful tips and encouragement. See id.
 at 6 n. 8. PIs also request that, if the City is allowed to proceed, the Court direct the City to
 prioritize Black candidates who have passed the CPAT for subsequent processing, because data
 shows that they need more time, on average, to complete the FDNY hiring process. Id. at 7-8.

          In response to these points, the City reiterates its operational need. The City argues that
 the margin of 67 candidates for the Spring 2024 class shown in its projections is “razor thin,” and
 that the City’s true needs could well prove to be greater than the projections forecast based on
 the fact that attrition increases over the life of the hiring list. City Response at 2. The City also
 notes that although the Vulcan Society questions the City’s selection ratio, they do not claim that
 it is incorrect. Id.

         The City’s Response does not address PIs’ specific arguments about how the City could
 potentially use Round 3 analyses that have not yet been performed to benefit candidates in
 Round 4. Instead, the City focuses on reasons why, in its view, waiting to be called for CPAT
 would increase attrition, instead of benefiting candidates. 3 These reasons include that attrition
 historically increases with time, and that the City’s survey of candidates showed continued
 interest among score band 97 in continuing with the FDNY hiring process. 4 City Response at 3.

 2
   Some of this data emerged through review of hard copy documents by the Monitor, and other data is available due
 to an agreement by the City, at the Monitor’s request, to change its recordkeeping practices or convert certain
 recordkeeping to electronic form.

 3
   For example, in response to PIs’ argument that delaying score band 97 would afford candidates additional time to
 train, the City Response states that band 97 candidates can train now. This response seems to miss PIs’ point, which
 is that, if candidates from score band 97 are deferred, they will have an additional four to five months in which to
 train, compared to if they are called for CPAT now.
 4
  The City also states that it shared findings by its consultant, ideas42, “that indicate it would be preferable to show
 concrete interest in candidates and progress toward their goal of being hired by having them take CPAT now.” City



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 The City also points to the fact that Round 3 results did not show adverse impact on Black and
 Hispanic candidates. The City argues that the elimination of disparate impact in Round 3
 “show[s] the effectiveness” of the City’s attrition mitigation efforts, that the City has shared its
 training and staffing plans, and that the City “is confident” that for the same reasons, “those
 candidates who are interested in training opportunities will have ample opportunity to
 participate.” Id. 5

         The City Response only briefly touches on PIs’ request to adopt a schedule that would
 afford Black candidates more time from the CPAT to beginning an Academy class. The City’s
 prior opposition to PIs’ position construed PIs’ proposal as a request to call Black candidates
 from score band 97 for the CPAT earlier than White candidates, which the City asserts “would
 run counter to Civil Service law, antidiscrimination laws, and all past practices.” Letter from
 City dated March 23, 2023 (Dkt. # 2162). PIs respond that they are asking only to adopt a
 schedule that would allow more time after the CPAT, which they allege would be consistent with
 candidates proceeding to complete the hiring process in varying order once they have passed the
 CPAT. PIs’ Objection at 3-4.

          III.     Monitor’s Analysis

                   A.       City’s Need to Call Both Bands

         The Vulcan Society and the City disagree regarding whether the City’s projected surplus
 of 67 candidates is sufficient to avoid what the City has asserted would be dire operational
 consequences should its calculations prove to have been off by more than that amount. Not only
 has the City emphasized its need to hire firefighters, but it has cited reasons why it is reasonable
 to base its projections on estimates of candidate attrition that are higher than those that the City
 used to plan how many candidates to call for CPAT at earlier stages of the Exam 7001 list. As
 the City notes, attrition increases with time. In Round 3, fewer than 50 percent of candidates in
 all demographics appeared for the CPAT, suggesting that around that number or even fewer may
 appear in Round 4. In this instance, based on the severity of the consequences the City has said
 will ensue in the event of a shortfall, the Monitor believes that deference must be given to the




 Response at 3. As the Monitor understands it, ideas42 recommended the value of showing candidates concrete
 interest and progress toward their goals, which the City argues supports the decision to call candidates for CPAT
 earlier, but did not comment on CPAT timing specifically.
 5
  The City also refers to a statement by the Monitor that “because wait times have been skewed by the pandemic, the
 Monitor's expert does not believe that any further analysis would be likely to show that a delay in calling the 97
 band would improve outcomes for non-traditional candidates.” City Response at 2 (citing Monitor’s Thirty-Ninth
 Periodic Report (Dkt. # 2162), at 22). The Monitor’s statement in this regard was intended to refer to further
 analysis of empirical information about past wait times and the effect of delay (such as the question that the United
 States had posed about whether it was possible to glean any trend from historical pass rates among candidates who
 had waited longer or shorter times to be called for CPAT).


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 City’s determination that it must call two bands at this time, and that it cannot wait to complete
 analyses of Round 3 before calling candidates from score band 97.

                  B.       The Importance of Completing Analyses and Candidate Support

         The Monitor strongly agrees with the importance of continued efforts to support Black
 and Hispanic candidates who do not have friends and family networks to encourage them to
 remain in the process and help prepare them to pass CPAT and the other stages of the hiring
 process. The Monitor does not believe, however, that calling both score bands requires
 sacrificing either the benefits of the analyses that the PIs identify in their Objection, or robust
 candidate support.

          At the Monitor and the other Parties’ request, the City has agreed to report, in some cases
 bi-weekly and others monthly, on training and testing attendance and outcomes, communications
 with candidates, and staffing in key areas including mentoring. The City has advised, as reported
 in the Monitor’s Letters, that it is prepared to take additional steps, including adding practice or
 testing sessions, providing candidates with flexible rescheduling, and facilitating their attendance
 at a full series of practice and testing sessions.

         The Monitor will continue to discuss with the City and the other Parties how the City can
 maintain levels of personal interaction with candidates comparable to those achieved during
 Round 3. Regarding training – which is a critical component of CPAT success – the Monitor
 and the other Parties will receive reports that should identify whether training attendance is
 falling short of expectations.

         The Monitor also agrees that, after having engaged in efforts to ensure that data is
 collected and stored, that data should now be analyzed to help better understand the CPAT,
 including but not limited to what may have been correlated with improved results in Round 3,
 and how to replicate those results for as much of Round 4 as feasible. 6 Even in the period since
 PIs filed their objection, however, a number of the analyses that PIs suggest have been conducted
 or have begun and are currently in progress. The Monitor has completed and circulated analyses
 showing correlations between candidate outcomes and different levels of training, participation
 in the Mentor program, and use of the candidate portal, along with a preliminary analysis of
 which CPAT components were associated with candidate failures in Round 3; this analysis
 remains ongoing. As PIs’ Objection states, PIs have also provided analyses breaking down
 outcomes between the first CPAT practice session and the second from Round 3. To the extent
 that these analyses may be useful to inform attrition efforts for Round 4, the City will be able to

 6
   The City adopted some additional measures in Round 3 that had not been in place for Round 2, and the extent to
 which these changes impacted outcomes, and which had the greatest impact, deserves further examination. The City
 added stairmill practice opportunities (in some cases at the urging of the Monitor and the other Parties), but,
 according to the City, candidates have not yet widely availed themselves of these initiatives. Over the course of
 Round 3 training and testing, the City also added Sunday training sessions, and made the scheduling process for
 CPAT training and practice sessions easier.



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 benefit from them for most of the Round 4 training and testing period. Additional analyses can
 still be completed, both before Round 4 begins and after it is underway.

                C.     Changes to Band 97 Processing Timeline

         The Vulcan Society raises the concerning prospect that Black candidates will continue to
 lag in the time that it takes from passing the CPAT to entering an Academy class. Many factors
 can affect the speed at which a candidate completes the FDNY hiring process, including medical
 information, criminal background investigation consideration, etc. Each of these factors
 implicates different City policies and practices.

         The Monitor has worked with the Parties to identify ways to streamline the FDNY hiring
 process, particularly where (as in the area of criminal background checks) delays may result
 from practices that fall disproportionately on minority populations. The Monitor has also
 discussed with the City the effect of policies that have not been shown to be related to or
 necessary for the firefighting job, and the City has made some adjustments, as with the validation
 of the stairmill portion of the medical examination and some aspects of the character review
 process. As in these other areas, it is possible that post-CPAT policies and practices could be
 improved to reduce causes of delay that are not job related or justified by business necessity.

         It is not clear from PIs’ Objection what schedule would address the concerns they have
 raised. Neither the Vulcan Society nor the City provided legal authorities relevant to this
 complex issue. At this time, the Monitor does not have a sufficient record to make a
 recommendation about this aspect of the Vulcan Society’s requested relief.

        IV.     Recommendation

        For the reasons set forth above, the Monitor respectfully recommends that the Court:

        APPROVE the City proceeding to call Exam 7001 score bands 98 and 97 for Round 4 of
 CPAT, subject to the commitments and requirements set forth in the Monitor’s Letters of March 22
 and 31, 2023, respectively (Dkt. #s 2160 and 2166).

         DENY the Vulcan Society’s request to call Black candidates ahead of other candidates
 for post-CPAT processing, without prejudice to renewal on a more complete record.

                                                     Respectfully submitted,

                                                             /s/

                                                     Mark S. Cohen
                                                     Court Monitor




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